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SENTENCING HEARING                                       Judge Leonie M. Brinkema
Date: 10/13/17                                           Reporter: A. Thomson
Start:  8:59am      End:    9:25am

UNITED STATES of AMERICA                  CASE NUMBER:   1:17cr50(2)
Vs.

 MICHAEL QUEEN

Counsel/Govt.: G.Kromberg/C. Garcia Counsel/Deft.: Donte Bugg
Court adopts PSI [ ] without exceptions [ ] with the following
exceptions:__________________________________________________________________
SENTENCING GUIDELINES:              Upon Motion of [ ] Deft [ ] Govt
Offense Level: _32__                Court depart from G/L pursuant to:
Criminal History: __VI_                                     [ ] USSG 5K1.1
Imprisonment Range: __    _ to _156_ months                 [ ] USSG 5C1.2
Supervised Release Range: __1__ to __3__ years              [ ] USSG 5K2.12
Restitution: $_______________                               [ ] USSG 5H1.4
Fine Range: $_35,000.00__ to $_350,000.00__                 [ ] _____________
Special Assessment: $_100.00___ per Count

JUDGMENT of the COURT:
BOP for _24_ months, each count,concurrent,with credit for time served
Supervised Release for _3_ Years – each count, concurrent
Supervised Probation for ________ Years
Restitution: $ ______________ payable to ____________________________
Fine: $ ________________ [ ] Due Immediately [ ] Monthly payments of $_______ to
begin _______ days from imposition of sentence/release
Special Assessment: $_200.00 [ ]Satisfied [X] Due immediately
Fine/Costs Waived [X] Interest Waived [ ]

SPECIAL CONDITIONS:
    Home Confinement for the first _____ days/months of supervision, at the
deft=s expense, w/leave as directed by Court.
 x Deft. to remain drug free, In/Out patient treatment as directed.
      x Deft to pay costs as able             x Deft to waive privacy
 x Deft. to participate in mental health evaluation, treatment, counseling as
directed.
      x Deft to pay costs as able             x Deft to waive privacy
    Pay Restitution of $ _______________,[ ] Due Immediately [ ] Monthly
payments of $_______to begin _____ days from release from custody.
 x Access to all financial information/records
    No New Credit/No Purchases over $________ without prior approval.
    Cooperate fully w/BICE, may not re-enter w/o permission during S/R.
    Seek and maintain full time employment       Full-time education program
    Drug Testing Waived
 x Other: __no contact with any members of terrorist organizations____
RECOMMENDATION TO BOP:
      Deft. to be designated to a Facility in ____________________________.
 x    Residential Drug Abuse Treatment Program (RDAP)
      Other: ____________________________________________________________.
Defendant: [ ] Remanded [x] Self Surrender/Bond cont.
 Deft orally advised of right to appeal his conviction & sentence
